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                      UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION

MORINVILLE, )                                       Case No. 20-cv-00980
                          )
      Plaintiff, )
                          )
      v.              )
                          )
OVERWATCH )
TECHNOLOGIES, INC. ET )
AL.,                   )
                          )
      Defendants. )



                PLAINTIFF S MOTION TO AMEND COMPLAINT

                                 EXHIBIT E




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Management Team

                  Terry Fokas                                                 Eran Ferri                                             Dovi Yellin

              Chief Executive Officer;                                  President (BioEye, Ltd.)                                      Chief Scientist
                     President


                   BACKGROUND                                                BACKGROUND                                              BACKGROUND
Software licensing executive with more than 15            Technolo y management professional with over 20          Neuro-scientist specializing in eye-markers; engineer
years experience in technology development and            years of ex erience. Extensive knowledge and               it extensive algorit m\machine learning
intellectual property enforcement; license U.S.           experience in all aspects of technolo y                  background with more than 20 years of
attorney with significant corporate an mergers &          management and market delivery, including                management experience in research, design and
acquisitions and patent licensin and enforcement          product management, sales and mar eting,                 de elopment. Algorithmic fields of specialty include
experience.                                               operations, customer ser ice, and licensing.             machine an deep learning combinatorial
LL.M (Master of Laws) - The London School of                                                                       optimization, image processing and information
                                                          Doctorate stu ies (Artificial Intelligence) - Tel-Aviv
                                                                                                                   theoretical methods.
Economics;                                                University;
                                                                                                                   PhD (Neuroscience) - Weizmann Institute of
J.D. (Juris Doctorate) - St John's University School of   M.Sc.(Communications) - Tel-Aviv University;
                                                                                                                   Science, Rehovot
Law;
                                                          B.A (ComputerScience) -Technion (Academic                M.Sc. (Computational Physics) - Bar Ilan University,
B.Sc. (Marketin & Finance) - State University of          Reserve)                                                 Ramat-Gan
New York (SUNY)
                                                                                                                   B.Sc. (Physics and Computer Science) - Bar Ilan
                                                                                                                   University, Ramat-Gan




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Management Team

       Paul Morinville                                     Stephanie Fokas                              Dr. Anne Lipton
                                                                                                      Dr. Malcolm Stewart
         Vice-President,                                        Director of Epilepsy
      Product Development                                      Community Outreach
                                                                                                           Clinical Consultants

          BACKGROUND                                              BACKGROUND
                                                                                                 i Dr. Anne Lipton - Doctor of
Former executive at Dell                              More than 20 years experience in           j Neurology; Board certified by the
Technologies responsible for                          leadership roles in non-profit             I American Board of Neurolo y. Dr.
corporate and product                                 healthcare organizations. Le the              Lipton is a nationally recognized
development and human                                 legislative effort for the Epilepsy           neurologist, author and dementia
resources. Accomplished tech                          Foundation of Texas which lead to          : specialist.
inventor, with nine issued patents on                 the 2015 passage of the Texas
mission-critical enterprise                           Compassionate Use Act (legalizing             Dr. Malcolm Stewart - Doctor of
middle are systems controlling                        medical cannabis for adults and               Neurology; Board Certified by the
access and business                                   children in Texas with intractable            American Board of Neurology.
 rocesses. Adjunct faculty at Ivy                     epilepsy)                                     Former director of the Par inson1 s
Tech University in Indiana teac ing                                                              : Disease Center and Human
basic electronics, PIC pro ramming                    2018-2019: Chairman of the Board of        : Performance Laboratory at Texas
and three phase electrical po er.                     Directors; Epilepsy Foundation of          ; Health Resources, Presbyterian
                                                      Te as;                                     ; Hospital, Dallas, Texas.
University of Hawaii, Embr Riddle
Aeronautical University and                           2019: Member, Board of Directions
Minnesota State University:                           (Strategic Plannin Committee)
Concentrations in economics and                       National Epile sy Foundation
astronomy.                                            B.A. (Public Relations) - University of
                                                        aryland (College Park)
